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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Case No. 20-1124-TJS

IN THE MATTER OF THE SEARCH OF A
———D

 

BLACK CELLULAR TELEPHONE MODEL ——__witnep
VLES, S/N: HTT190822017102, FCC ID: eae __RECENED
2APD4-A80C, MEID DEC:
22576853202237957, MEID HEX: MAY 29 2020
869190042237957 AT GREENBELT ()
CLERK U.8. DISTRICT COURT
DISTRICT GF MARYLAND
AFFIDAVIT IN SUPPORT OF *

APPLICATION FOR SEARCH WARRANT

Your affiant, Special Agent (“SA”) James S. Keay, of the Bureau of Alcohol, Tobacco,
Firearms and Explosives (“ATF”) being duly sworn, deposes and states as follows:

I. ITEMS TO BE SEARCHED

I. This affidavit is submitted in support of an application for a search warrant under
Federal Rule of Criminal Procedure 41 authorizing the search of the following cellular telephone,
described more fully in Attachment A:

A black cellular telephone, model VLES, S/N: HTT190822017102, FCC ID:
2APD4-A80C, MEID DEC: 22576853202237957, MEID HEX: 869190042237957
(hereinafter, “SUBJECT DEVICE”).

2. The SUBJECT DEVICE is currently in the custody of the Baltimore City Police
Department (“BPD”) at 601 East Fayette Street Baltimore, MD 21202. BPD officers seized the
SUBJECT DEVICE from Bruce WATER’s person following his arrest on February 19, 2020.

a: Based on the facts set forth in this affidavit, | respectfully submit that there is
probable cause to believe that there is presently concealed in the SUBJECT DEVICE information
(described more fully in Attachment B) that constitutes evidence, fruits, and instrumentalities

related to WATERS’ possession of a firearm while distributing a controlled dangerous substance

in violation of 18 U.S.C. § 922(g) (Felon in Possession of a Firearm), 18 U.S.C. § 924(c)
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(Possession of a Firearm in Furtherance of Drug Trafficking), and 21 U.S.C § 841 (Possession
with Intent to Distribute a Controlled Dangerous Substance).

4, The facts in this affidavit come from my training and experience, certain personal
observations made during the course of the investigation, and information obtained from
witnesses, other agents, and law enforcement officers. Specifically, | have personally participated
in this investigation, spoken to others involved in the investigation, and reviewed reports made to
me by other agents and officers of the ATF, BPD, and other law enforcement authorities. All
conversations and statements described in this affidavit are related in substance and in part unless
otherwise indicated.

Si. Because this affidavit is being submitted for the limited purpose of establishing
probable cause for the requested warrant, it does not set forth all of my knowledge about this
matter. Rather, I have set forth only those facts that I believe are necessary to establish probable
cause to believe that the memory and content of the SUBJECT DEVICE will contain fruits,
instrumentalities, and evidence of these crimes. I have not, however, excluded any information
known to me that would defeat a determination of probable cause.

6. The applied for warrant would authorize members of the ATF, or their authorized
representatives, including but not limited to other law enforcement agents assisting in the above-
described investigation, to examine the SUBJECT DEVICE for the purpose of seizing
electronically stored data described in Attachment B.

Il. AFFIANT BACKGROUND AND EXPERTISE

7. lam a Special Agent with the ATF and am currently assigned to the ATF Baltimore

Field Division, Baltimore Group VI Field office. I have been employed by the ATF since 2015. |

have participated in several investigations focusing on controlled dangerous substance (“CDS”)
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trafficking, gangs, and illegal firearms. I have conducted covert surveillance of suspected CDS
traffickers, conducted interviews with individuals involved in gangs and the CDS trafficking trade,
participated in Title II] wiretap investigations, and have been a member of surveillance teams. |
have also participated in the execution of several federal search and arrest warrants involving CDS
traffickers and violent offenders, and participated in the seizure of firearms and CDS. Through
my training and experience, | have become familiar with the manner in which illegal CDS and
firearms are transported, stored, and distributed, the methods of payment for such CDS and
firearms, and the manner in which CDS traffickers communicate with each other.

8. I know, based on my training and experience, that individuals involved with drug
trafficking activities and illegal firearm possession frequently use cellular telephones,
communication devices, and other electronic media storage to further their illegal activities.
Persons who have firearms tend to take photographs of the firearm and ammunition, which is
stored on their electronic device. An individual may communicate with others in reference to the
purchase of or the selling of firearms and CDS through their electronic devices. Individuals found
with firearms and CDS often post pictures of evidence, fruits of the crime, and instrumentalities,
on social media pages to show others with whom they are connected.

9. More specifically, | know that drug traffickers use cellular telephones to further
their objectives by communicating with drug suppliers and customers by talking and by sending
e-mail messages, text messages, and messages through social media (e.g., Facebook).

II. PROBABLE CAUSE
A. CASE BACKGROUND
10. On February 19, 2020, BPD detectives were on patrol in the 1000 block of West

Lombard Street, Baltimore City MD. This area the area is known by detectives to have a large
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volume of both illegal drug sales and crime.

11. | While on patrol, BPD detectives observed WATERS sitting on the steps of one of
the residences on Lombard Street. Detectives noticed that WATERS appeared to be dumping small
items, consistent with the size and shape of CDS, into his hand from a plastic bag. Detectives then
observed WATERS hand one of these items to a suspected buyer.

12. Believing they had witnessed a hand-to-hand CDS transaction, detectives
approached WATERS. They observed WATERS tuck the bag of suspected CDS into his front
waist area. Detectives stopped WATERS and recovered the bag from his waist. They found 32
small plastic jugs containing suspected cocaine inside the bag. Detectives arrested WATERS and
found a loaded 9mm, SKYY CPX-1, semi-automatic pistol, bearing serial number 015236, from
WATERS’s waistband during a search incident to arrest. Detectives also recovered the SUBJECT
DEVICE from WATERS.

13. Detectives subsequently learned that WATERS has at least one felony conviction
punishable by imprisonment for a term exceeding one year, and is therefore prohibited from
possessing a firearm.

14, Since WATERS’S arrest, WATERS has not had access to the SUBJECT DEVICE
in order to destroy, delete, or otherwise tamper with any data on the SUBJECT DEVICE. For this
reason, I believe any data and information contained on the SUBJECT DEVICE generated by
WATERS may still be able to be recovered by a forensic analysis of SUBJECT DEVICE data.
IV. CONCLUSION

1S. I believe there is probable cause to believe the SUBJECT DEVICE contains
evidence related to WATERS being a felon in possession of a prohibited firearm in violation of 18

U.S.C. § 922(g), his possession of a firearm in furtherance of drug trafficking in violation of 18
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U.S.C. § 924(c), and his possession with intent to distribute controlled dangerous substances in
violation of 21 U.S.C. § 841.

16. | Because this warrant seeks only permission to examine a device already in law
enforcement’s possession, the execution of this warrant does not involve the physical intrusion
onto a premises. Consequently, | submit there is reasonable cause for the Court to authorize
execution of the warrant at any time in the day or night.

WHEREFORE, in consideration of the facts presented, I respectfully request that this Court
issue a search warrant for the SUBJECT DEVICE more fully described in Attachment A, and

authorize the search and seizure of the items described in Attachment B.

Respectfully submitted,

JAMES KEAY Dave 200000417 1183440800

James S. Keay

Special Agent

Bureau of Alcohol, Tobacco, Firearms and
Explosives

 

Affidavit submitted by email and attested to me as true and accurate by telephone
consistent with Fed. R. Crim. P. 4.1 and 4(d) this 17" day of April, 2020

MEW

Honorable Timothy Sullivan
United States District Court
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ATTACHMENT A
Property to be searched

The device to be searched is as follows: A black cellular telephone Model VLES, S/N:
HTT190822017102, FCC ID: 2APD4-A80C, MEID DEC: 22576853202237957, MEID HEX:
869 190042237957.

The device is currently in custody at the Baltimore City Police Evidence Control Unit,
located at 601 East Fayette Street Baltimore, MD 21202.
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ATTACHMENT B
Information to be seized

This warrant authorizes the search and seizure of the data contained within the item
described in Attachment A that are related to the violations of 18 U.S.C. §§ 922(g) (Felon in
Possession of a Firearm), 924(c) (Possession of Firearm in Furtherance of Drug Trafficking, and
21 U.S.C. § 841 (Possession with Intent to Distribute a Controlled Dangerous Substance), as more
fully described in the affidavit. This data will include:

1. All of the following:

a.

b.

g.
h.

digital images and photographs;

digital videos;

records of incoming and outgoing voice communications;
records of incoming and outgoing text messages;

the content of incoming and outgoing text messages;
voicemails;

voice recordings; and

lists of contacts/associates and related identifying information

2. Any and all records related to the location of the user(s) of the device.

3. For the Device:

a.

Evidence of who used, owned, or controlled the devices at the time the things
described in this warrant were created, edited, or deleted, such as logs, registry
entries, configuration files, saved usernames and passwords, documents, browsing
history, user profiles, email, email contacts, “chat,” instant messaging logs,
photographs, and correspondence;

evidence of software that would allow others to control the Devices, such as viruses,
Trojan horses, and other forms of malicious software, as well as evidence of the

presence or absence of security software designed to detect malicious software;
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c. evidence of the lack of such malicious software;
d. evidence of the attachment to the Devices of other storage devices or similar
containers for electronic evidence;
e. evidence of counter forensic programs (and associated data) that are designed to
eliminate data from the Devices;
f. evidence of the times the Devices were used;
g. passwords, encryption keys, and other access devices that may be necessary to
access the Devices:
h. documentation and manuals that may be necessary to access the Devices or to
conduct a forensic examination of the Devices:
i. contextual information necessary to understand the evidence described in this
attachment.
Search Protocol Regarding Potentially Privileged Information
With respect to the search of the information provided pursuant to this warrant, law
enforcement personnel will make reasonable efforts to use methods and procedures that will locate
and expose those categories of files, document, communications, or other electronically stored
information that are identified with particularity in the warrant while minimizing the review of
information not within the list of items to be seized as set forth herein, to the extent reasonably
practicable. If the government identifies any seized communications that may implicate the
attorney-client privilege, law enforcement personnel will discontinue its review and take
appropriate steps to segregate all potentially privileged information so as to protect it from

substantive review. The investigative team will take no further steps regarding any review of
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information so segregated absent further order of the court. The investigative team may continue

to review any information not segregated as potentially privileged.
